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                EXHIBIT H
      Case 1:16-cv-12275-RGS Document 1-10 Filed 11/11/16 Page 2 of 9



                          /      /          /        /       /      /




                                     Tac Light




        ULTRA BRIGHT LEDS
           LIGHT UP THE
         DARKEST SPACES




                                           BUY NOW




                   COMPACT AND LIGHTWEIGHT




        WORKS IN BOILING WATER       SURVIVES BEING FROZEN       BRIGHTENS UP THE NIGHT




http://www.emsoninc.com/tac-light/
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                                       BUY NOW




                                     E. Mishan & Sons, Inc.




http://www.emsoninc.com/tac-light/
| ICANN WHOIS
                          Case 1:16-cv-12275-RGS Document 1-10 Filed 11/11/16 Page 4 of 9


                              简体中文 
 English 
 Français 
 Русский 
 Español 
 ‫ 
 العربية‬Portuguese




                       ICANN WHOIS


        www.emsoninc.com                                           Lookup
   


 Showing results for: EMSONINC.COM
 Original Query: www.emsoninc.com




      Contact Information
      Registrant Contact                            Admin Contact                               Tech Contact
      Name: Steven Mishan                           Name: Steven Mishan                         Name: Steven Mishan
      Organization: E. Mishan & Sons,               Organization: E. Mishan & Sons,             Organization: E. Mishan & Sons,
      Inc.                                          Inc.                                        Inc.
      Mailing Address: 230 Fifth Ave,               Mailing Address: 230 Fifth Ave,             Mailing Address: 230 Fifth Ave,
      New York New York 10001 US                    New York New York 10001 US                  New York New York 10001 US
      Phone: +1.2126899094                          Phone: +1.2126899094                        Phone: +1.2126899094
      Ext:                                          Ext:                                        Ext:
      Fax:                                          Fax:                                        Fax:
      Fax Ext:                                      Fax Ext:                                    Fax Ext:
      Email:ScottSinger@esnMail.com                 Email:ScottSinger@esnMail.com               Email:ScottSinger@esnMail.com




 Submit a Complaint for WHOIS
 WHOIS Inaccuracy Complaint Form
   Registrar
 WHOIS  Service Complaint Form                                                   Status
 WHOIS
  WHOISCompliance  FAQs
          Server: whois.godaddy.com                                              Domain Status:clientTransferProhibited
  URL: http://www.godaddy.com                                                    http://www.icann.org/epp#clientTransferProhibite
  Registrar: GoDaddy.com, LLC                                                    d


https://whois.icann.org/en/lookup?name=www.emsoninc.com[11/9/2016 12:55:46 PM]
Tac Light - Military Grade, High Performance Tactical Flashlight
                                         Case 1:16-cv-12275-RGS Document 1-10 Filed 11/11/16 Page 5 of 9




                                                                              22x brighter than regular flashlights
                                                                              Can be seen 2 nautical miles away
                                                                              Tactical strobe to stun attackers or intruders
                                                                              Compact and lightweight
                                                                              Works when frozen or even under water
                                                                              Guaranteed for life




https://www.trytaclight.com/[11/3/2016 12:58:03 PM]
Tac Light - Military Grade, High Performance Tactical Flashlight
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                                          *Indicates Required Field

                      STEP 1:
                      Select your offer


                      Just pay a separate $10 fee for the Free Bonus Tac Light!

                          Yes  
    No



                      STEP 1:
                      Review your order


                       Item           Quantity                     Price   P&H

                       State Tax:  
 Enter Zip Code                        $0.00

                       Estimated Order Total                               $0.00




                      STEP 3:
                      Please enter your credit card information




https://www.trytaclight.com/[11/3/2016 12:58:03 PM]
Tac Light - Military Grade, High Performance Tactical Flashlight
                                              Case 1:16-cv-12275-RGS Document 1-10 Filed 11/11/16 Page 7 of 9




                           *Card Number:                #################
                        *Expiration Date: 01
                                           01-- Jan
                                                Jan              
 2016
                                                                    2016

                                      *CVV2:            CVV2    
What is CVV2?




                      STEP 4:
                      Please enter your billing information


                        *Full Name:          *Full Name:
                           *Address:         *Address:
                               *Zip:
                                *City:
                                   Choose State
                                          Suite / Apt

                                

                            
 
*Phone:
                                    
        *Phone:
                              *Email:        *Email:


                          Check if shipping address is different than billing address.




                       By clicking the 'Process Order' button you are placing a live
                           order and agreeing to the terms and conditions and
                                          Arbitration Agreement..




                                                         Yes, Enroll Me.
                                                         No, Thank You.
                         When opting to enroll in the InsureShip Insurance Program, you will billed
                        $3.99 in a separate transaction that is billed to the same card you are using
                                                           today.




                                                OFFER DETAILS:
                                                Today you can buy the Tac Light for only 19.99 + free shipping, and get one free, just pay a fee of $10. We'll also include a
                                                lifetime guarantee.
Sales tax will apply to orders from CA, NJ, NV & NY.




https://www.trytaclight.com/[11/3/2016 12:58:03 PM]
Tac Light - Military Grade, High Performance Tactical Flashlight
                                         Case 1:16-cv-12275-RGS Document 1-10 Filed 11/11/16 Page 8 of 9
                                           A $10 shipping surcharge will be applied to orders from AK/HI. A $20 shipping surcharge will be applied to orders from PR.
                                           You may also call 1-800-671-6612 to place an order.




                              Home 
 Customer Service 
 Shipping Policy 
 Returns Policy 
 Privacy Policy 
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 Order Now

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        www.trytaclight.com                                          Lookup
   


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      Contact Information
      Registrant Contact                             Admin Contact                                 Tech Contact
      Name: Steven Mishan                            Name: Steven Mishan                           Name: Steven Mishan
      Organization: AFS-E. Mishan &                  Organization: AFS-E. Mishan &                 Organization: AFS-E. Mishan &
      Sons, Inc.                                     Sons, Inc.                                    Sons, Inc.
      Mailing Address: 80 Van Kirk                   Mailing Address: 80 Van Kirk                  Mailing Address: 80 Van Kirk
      Drive, Brampton Ontario l7a1b1                 Drive, Brampton Ontario l7a1b1                Drive, Brampton Ontario l7a1b1
      CA                                             CA                                            CA
      Phone: +1.2126899094                           Phone: +1.2126899094                          Phone: +1.2126899094
      Ext:                                           Ext:                                          Ext:
      Fax:                                           Fax:                                          Fax:
      Fax Ext:                                       Fax Ext:                                      Fax Ext:
      Email:scotts@thpmail.com                       Email:scotts@thpmail.com                      Email:scotts@thpmail.com




 Submit a Complaint for WHOIS
 WHOIS Inaccuracy Complaint Form
   Registrar
 WHOIS  Service Complaint Form                                                      Status
 WHOIS
  WHOISCompliance  FAQs
          Server: whois.godaddy.com                                                 Domain Status:clientTransferProhibited
  URL: http://www.godaddy.com                                                       http://www.icann.org/epp#clientTransferProhibite


https://whois.icann.org/en/lookup?name=www.trytaclight.com[11/9/2016 12:57:26 PM]
